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   8                        UNITED STATES DISTRICT COURT
   9        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
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  11   SANDRA PARNESS,                           CASE NO.: 2:20-cv-02229-FMO-PJW
  12         Plaintiff,                          ORDER ON STIPULATION [27] TO
                                                 DISMISS ENTIRE ACTION WITH
  13         v.                                  PREJUDICE
  14   TARGET CORPORATION, et al.,
                                                 Action Filed: March 6, 2020
  15         Defendants.                         State Complaint Filed: November 25,
                                                 2019
  16                                             Pretrial Conference: November 19, 2021,
                                                 10:00 a.m.
  17                                             Trial: December 7, 2021, 9:00 a.m.
  18
  19        On April 23, 2021, the parties jointly submitted a Stipulation of Dismissal,
  20 dismissing this entire action and claims herein, with prejudice, to the Court.
  21 Accordingly, this action and all claims herein are dismissed with prejudice, and the
  22 parties will bear their own respective attorneys’ fees and costs.
  23        IT IS SO ORDERED.
  24
  25 Dated: April 26, 2021                    /s/ Fernando M. Olguin
                                             UNITED STATES DISTRICT JUDGE
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         [PROPOSED] ORDER ON STIPULATION TO DISMISS ENTIRE ACTION
Case 2:20-cv-02229-FMO-RAO Document 28 Filed 04/26/21 Page 2 of 3 Page ID #:244




   1                                PROOF OF SERVICE

   2                     Sandra Parness, v. Target Corporation, et al.
   3               United States District Court - Central District of California
                           Court Case No.: 2:20-cv-0229-FMO-PJW
   4                                 Client/Matter: 146500
   5
          At the time of service, I was over 18 years of age and not a party to the action.
   6 My business address is 500 N. Brand Boulevard, Suite 1650, Glendale, California
   7 91203.
   8       On April 26, 2021, I served the following document described as
   9 [PROPOSED] ORDER ON STIPULATION TO DISMISS ENTIRE ACTION
     WITH PREJUDICE STIPULATION FOR DISMISSAL on the following
  10 persons at the following address:
  11
                             SEE ATTACHED SERVICE LIST
  12
          BY MAIL: I am “readily familiar” with the firm’s practice of collection and
  13       processing correspondence for mailing. Under that practice it would be
           deposited with the U.S. postal service on that same day with postage thereon
  14       fully prepaid at Los Angeles, California in the ordinary course of business. I
           am aware that on motion of the party served, service is presumed invalid if
  15       postal cancellation date or postage meter date is more than one day after date
           of deposit for mailing in affidavit.
  16
          BY OVERNIGHT DELIVERY: I served such envelope or package to be
  17       delivered on the same day to an authorized courier or driver authorized by the
           overnight service carrier to receive documents, in an envelope or package
  18       designated by the overnight service carrier.
  19       BY ELECTRONIC SERVICE: I caused the above-entitled document(s) to
            be served via E-mail to the E-mail addresses on the attached Service List.
  20
  21       FEDERAL: I declare that I am employed in the office of a member of the bar
            of this Court at whose direction the service was made. I declare under penalty
  22        of perjury under the laws of the United States of America that the foregoing is
  23        true and correct.

  24        Executed on April 26, 2021, at Glendale, California.
  25
  26                                            /s/ Liseth Gonzalez
                                                LISETH GONZALEZ
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         [PROPOSED] ORDER ON STIPULATION TO DISMISS ENTIRE ACTION
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   1                                  SERVICE LIST

   2                      Sandra Parness v. Target Corporation, et al.
   3                               United States District Court
            Central District of California, Court Case No.: 2:20-cv-0229-FMO-PJW
   4                                  Client/Matter: 146500
   5
       Michael A. Greene, Esq.                 Attorneys for Plaintiff SANDRA
   6   Jeffrey A. Kaiman, Esq.                 PARNESS
   7   LAW OFFICES OF KAIMAN,
       GREENE & ASSOCIATES
   8   1900 Avenue of the Stars, Suite 950
   9   Los Angeles, California 90067
       Tel: (310) 789-2030
  10   Fax: (310) 789-2031
  11   E: mag@kaimanlaw.com

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         [PROPOSED] ORDER ON STIPULATION TO DISMISS ENTIRE ACTION
